                          Case 18-51222-btb                Doc 1       Entered 10/26/18 14:07:09                   Page 1 of 35

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                HICKORY LEASING LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  252 HICKORY STREET
                                  Quitman, MS 39355-2114
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clarke                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                           Case 18-51222-btb                   Doc 1       Entered 10/26/18 14:07:09                       Page 2 of 35
Debtor    HICKORY LEASING LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     BTH QUITMAN HICKORY LLC                                        Relationship            PARENT
                                                  District   DISTRICT OF NEVADA When                12/10/17                Case number, if known   17-51375-BTB




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                            Case 18-51222-btb               Doc 1        Entered 10/26/18 14:07:09                     Page 3 of 35
Debtor   HICKORY LEASING LLC                                                                       Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                         Case 18-51222-btb                 Doc 1        Entered 10/26/18 14:07:09                      Page 4 of 35
Debtor    HICKORY LEASING LLC                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 26, 2018
                                                  MM / DD / YYYY


                             X   /s/ NEAL SMALER                                                          NEAL SMALER
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   PRESIDENT




18. Signature of attorney    X   /s/ KEVIN DARBY                                                           Date October 26, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 KEVIN DARBY
                                 Printed name

                                 DARBY LAW PRACTICE
                                 Firm name

                                 4777 CAUGHLIN PARKWAY
                                 Reno, NV 89519
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     7753221237                    Email address      kevin@darbylawpractice.com

                                 7670 NV
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                           Case 18-51222-btb                         Doc 1       Entered 10/26/18 14:07:09                   Page 5 of 35




 Fill in this information to identify the case:

 Debtor name         HICKORY LEASING LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 26, 2018                        X /s/ NEAL SMALER
                                                                       Signature of individual signing on behalf of debtor

                                                                       NEAL SMALER
                                                                       Printed name

                                                                       PRESIDENT
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                                Case 18-51222-btb                    Doc 1        Entered 10/26/18 14:07:09                          Page 6 of 35


 Fill in this information to identify the case:
 Debtor name HICKORY LEASING LLC
 United States Bankruptcy Court for the: DISTRICT OF NEVADA                                                                                           Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 HEARTLAND                                                      WHITE PELLET                                     $1,482,855.00                $915,850.00               $567,005.00
 RENAISSANCE                                                    MANUFACTURIN
 FUND SUB XI, LLC                                               G EQUIPMENT
 200 RIVER MARKET                                               LOCATED AT 252
 AVENUE, SUITE 400                                              HICKORY DRIVE,
 Little Rock, AR                                                QUITMAN,
 72201-1766                                                     MISSISSIPPI,
                                                                39355
 WAVELAND SUB                                                   WHITE PELLET                                           Unknown                $915,850.00                  Unknown
 CDE XVIII, LLC                                                 MANUFACTURIN
 825 North Jefferson                                            G EQUIPMENT
 Street, Suite 300                                              LOCATED AT 252
 Milwaukee, WI                                                  HICKORY DRIVE,
 53202-3737                                                     QUITMAN,
                                                                MISSISSIPPI,
                                                                39355




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                               Case 18-51222-btb                                  Doc 1              Entered 10/26/18 14:07:09                                          Page 7 of 35
 Fill in this information to identify the case:

 Debtor name            HICKORY LEASING LLC

 United States Bankruptcy Court for the:                       DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           915,850.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           915,850.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,482,855.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,482,855.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                           Case 18-51222-btb                         Doc 1   Entered 10/26/18 14:07:09           Page 8 of 35
 Fill in this information to identify the case:

 Debtor name         HICKORY LEASING LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                          Check if this is an
                                                                                                                          amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                         12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                        Current value of
                                                                                                                          debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
                           Case 18-51222-btb                         Doc 1   Entered 10/26/18 14:07:09            Page 9 of 35

 Debtor         HICKORY LEASING LLC                                                            Case number (If known)
                Name


        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

            General description                                                Net book value of      Valuation method used   Current value of
            Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
            (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            WHITE PELLET MANUFACTURING
            EQUIPMENT LOCATED AT 252 HICKORY
            DRIVE, QUITMAN, MISSISSIPPI, 39355                                               $0.00                                     $915,850.00




 51.        Total of Part 8.                                                                                                       $915,850.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                         Case 18-51222-btb                           Doc 1   Entered 10/26/18 14:07:09           Page 10 of 35

 Debtor         HICKORY LEASING LLC                                                          Case number (If known)
                Name

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
                           Case 18-51222-btb                           Doc 1            Entered 10/26/18 14:07:09                             Page 11 of 35

 Debtor          HICKORY LEASING LLC                                                                                 Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $915,850.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $915,850.00           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $915,850.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
                          Case 18-51222-btb                          Doc 1      Entered 10/26/18 14:07:09                  Page 12 of 35
 Fill in this information to identify the case:

 Debtor name         HICKORY LEASING LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       HEARTLAND
 2.1   RENAISSANCE FUND SUB
       XI, LLC                                        Describe debtor's property that is subject to a lien               $1,482,855.00               $915,850.00
       Creditor's Name                                WHITE PELLET MANUFACTURING
       200 RIVER MARKET                               EQUIPMENT LOCATED AT 252 HICKORY
       AVENUE, SUITE 400                              DRIVE, QUITMAN, MISSISSIPPI, 39355
       Little Rock, AR 72201-1766
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. HEARTLAND
       RENAISSANCE FUND SUB
       XI, LLC
       2. WAVELAND SUB CDE
       XVIII, LLC

       WAVELAND SUB CDE
 2.2                                                                                                                           Unknown               $915,850.00
       XVIII, LLC                                     Describe debtor's property that is subject to a lien
       Creditor's Name                                WHITE PELLET MANUFACTURING
       825 North Jefferson Street,                    EQUIPMENT LOCATED AT 252 HICKORY
       Suite 300                                      DRIVE, QUITMAN, MISSISSIPPI, 39355
       Milwaukee, WI 53202-3737
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                         Case 18-51222-btb                           Doc 1      Entered 10/26/18 14:07:09                      Page 13 of 35
 Debtor       HICKORY LEASING LLC                                                                      Case number (if know)
              Name

       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

                                                                                                                               $1,482,855.0
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          0

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                         Case 18-51222-btb                           Doc 1   Entered 10/26/18 14:07:09                          Page 14 of 35
 Fill in this information to identify the case:

 Debtor name         HICKORY LEASING LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

     1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
     3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
        out and attach the Additional Page of Part 2.
 3.1    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.
                                                                                Contingent
                                                                                Unliquidated
           Date or dates debt was incurred
                                                                                Disputed
           Last 4 digits of account number
                                                                             Basis for the claim:

                                                                             Is the claim subject to offset?       No     Yes


 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                     related creditor (if any) listed?               account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                            0.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                              0.00




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                        39342                                           Best Case Bankruptcy
                         Case 18-51222-btb                           Doc 1   Entered 10/26/18 14:07:09            Page 15 of 35
 Fill in this information to identify the case:

 Debtor name         HICKORY LEASING LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   LEASE OF ALL OF
             lease is for and the nature of               DEBTOR'S ASSETS TO
             the debtor's interest                        BTH QUITMAN
                                                          HICKORY LLC
                  State the term remaining
                                                                                      BTH QUITMAN HICKORY LLC
             List the contract number of any                                          252 HICKORY STREET
                   government contract                                                Quitman, MS 39355-2114


 2.2.        State what the contract or                   ASSET PURCHASE
             lease is for and the nature of               AGREEMENT FOR
             the debtor's interest                        SALE OF ALL OF
                                                          DEBTOR'S ASSETS             MOHEGAN RENEWABLE ENERGY
                  State the term remaining                                            c/o Fennemore Craig, P.C.
                                                                                      Attn: Anthony W. Austin
             List the contract number of any                                          2394 E. Camelback Rd., Ste. 600
                   government contract                                                Phoenix, AZ 85016-9077




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                         Case 18-51222-btb                           Doc 1   Entered 10/26/18 14:07:09         Page 16 of 35
 Fill in this information to identify the case:

 Debtor name         HICKORY LEASING LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                     Name                          Check all schedules
                                                                                                                                 that apply:

    2.1      BTH QUITMAN                       252 HICKORY STREET                                                                   D
             HICKORY LLC                       Quitman, MS 39355-2114                                                               E/F
                                                                                                                                    G




Official Form 206H                                                             Schedule H: Your Codebtors                                     Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                         Case 18-51222-btb                           Doc 1    Entered 10/26/18 14:07:09                        Page 17 of 35



 Fill in this information to identify the case:

 Debtor name         HICKORY LEASING LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                          04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                           Gross revenue
       which may be a calendar year                                                            Check all that apply                         (before deductions and
                                                                                                                                            exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue            Gross revenue from
                                                                                                                                            each source
                                                                                                                                            (before deductions and
                                                                                                                                            exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                           Dates               Total amount of value          Reasons for payment or transfer
                                                                                                                                Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                            Dates               Total amount of value          Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                         Case 18-51222-btb                           Doc 1     Entered 10/26/18 14:07:09                       Page 18 of 35
 Debtor      HICKORY LEASING LLC                                                                           Case number (if known)



           None

       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case               Court or agency's name and               Status of case
               Case number                                                                   address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss           Value of property
       how the loss occurred                                                                                                                                    lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                         Case 18-51222-btb                           Doc 1     Entered 10/26/18 14:07:09                       Page 19 of 35
 Debtor      HICKORY LEASING LLC                                                                         Case number (if known)



                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                         Case 18-51222-btb                           Doc 1    Entered 10/26/18 14:07:09                        Page 20 of 35
 Debtor      HICKORY LEASING LLC                                                                        Case number (if known)



    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or          Date account was             Last balance
              Address                                           account number            instrument                  closed, sold,            before closing or
                                                                                                                      moved, or                         transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                         Names of anyone with               Description of the contents          Do you still
                                                                       access to it                                                            have it?
                                                                       Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                       Names of anyone with               Description of the contents          Do you still
                                                                       access to it                                                            have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                      Court or agency name and           Nature of the case                   Status of case
       Case number                                                     address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                         Case 18-51222-btb                           Doc 1    Entered 10/26/18 14:07:09                        Page 21 of 35
 Debtor      HICKORY LEASING LLC                                                                        Case number (if known)




       Site name and address                                           Governmental unit name and             Environmental law, if known               Date of notice
                                                                       address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                           Governmental unit name and             Environmental law, if known               Date of notice
                                                                       address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
                         Case 18-51222-btb                           Doc 1   Entered 10/26/18 14:07:09                         Page 22 of 35
 Debtor      HICKORY LEASING LLC                                                                        Case number (if known)



       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       HICKORY HOLDINGS LLC                           252 HICKORY AVENUE                                  MANAGER                               1%
                                                      Quitman, MS 39355



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 26, 2018

 /s/ NEAL SMALER                                                         NEAL SMALER
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         PRESIDENT

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                         Case 18-51222-btb                           Doc 1    Entered 10/26/18 14:07:09           Page 23 of 35
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re       HICKORY LEASING LLC                                                                              Case No.
                                                                                    Debtor(s)                 Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                       0.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 26, 2018                                                               /s/ KEVIN DARBY
     Date                                                                           KEVIN DARBY
                                                                                    Signature of Attorney
                                                                                    DARBY LAW PRACTICE
                                                                                    4777 CAUGHLIN PARKWAY
                                                                                    Reno, NV 89519
                                                                                    7753221237 Fax: 7759967290
                                                                                    kevin@darbylawpractice.com
                                                                                    Name of law firm




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                         Case 18-51222-btb                           Doc 1    Entered 10/26/18 14:07:09                    Page 24 of 35

                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      HICKORY LEASING LLC                                                                                       Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                              Security Class Number of Securities                        Kind of Interest
 business of holder
 BIOMASS TORREFACTION HOLDING, LLC                                                    99%                                        MEMBERSHIP INTEREST



 HICKORY HOLDINGS LLC                                                                 1%                                         MEMBERSHIP INTEREST
 252 HICKORY AVENUE
 Quitman, MS 39355


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the PRESIDENT of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date October 26, 2018                                                         Signature /s/ NEAL SMALER
                                                                                            NEAL SMALER

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                         Case 18-51222-btb                           Doc 1    Entered 10/26/18 14:07:09   Page 25 of 35




                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      HICKORY LEASING LLC                                                                       Case No.
                                                                                    Debtor(s)         Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the PRESIDENT of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       October 26, 2018                                            /s/ NEAL SMALER
                                                                         NEAL SMALER/PRESIDENT
                                                                         Signer/Title




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                        Best Case Bankruptcy
    Case 18-51222-btb   Doc 1   Entered 10/26/18 14:07:09   Page 26 of 35


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                  HICKORY LEASING LLC
                  252 HICKORY STREET
                  Quitman, MS 39355-2114

                  KEVIN DARBY
                  DARBY LAW PRACTICE
                  4777 CAUGHLIN PARKWAY
                  Reno, NV 89519

                   AMCREF FUND VI, LLC
                  fbo Quitman I Investment Fund, LLC
                  c/o U.S. Bancorp Community Development
                  1307 Washinton Avenue, Suite 300
                  Saint Louis, MO 63103-1976

                  AIG PROPERTY CASUALTY, INC.
                  Kevin J. Larner, Authorized Rep.
                  80 Pine Street, 13th Floor
                  New York, NY 10005-1734

                  AMANDUS KAHL GMBH
                  105 HEMBREE DRIVE, SUITE L
                  Roswell, GA 30076

                  AMANDUS KAHL GMBH
                  MUSHKIN CICA COPPEDGE
                  ATTN: DAWN M CICA, ESQ
                  4495 S. PECOS RD
                  Las Vegas, NV 89121-5082

                  AMCREF COMMUNITY CAPITAL, LLC
                  C/O TIMOTHY LUKAS/HOLLAND & HART LLP
                  5441 KIETZKE LN, 2ND FLR
                  Reno, NV 89511-3026

                  AMCREF FUND VI, LLC
                  fbo NBE Finance Corporation
                  12824 N. Colony Dr.
                  Mequon, WI 53097

                  AMCREF FUND VI, LLC
                  fbo Quitman I Investment Fund, LLC
                  c/o U.S. Bancorp Community Development
                  1307 Washinton Avenue, Suite 300
                  Saint Louis, MO 63103

                  AMCREF FUND VI, LLC
                  fbo AmCref Community Capital, LLC
                  4118 MAGAZINE STREET
                  New Orleans, LA 70115

                  AMCREF FUND VI, LLC
                  4118 MAGAZINE STREET
                  New Orleans, LA 70115-2751
Case 18-51222-btb   Doc 1   Entered 10/26/18 14:07:09   Page 27 of 35



              AMCREF FUND VI, LLC
              12824 N. Colony Dr.
              Mequon, WI 53097-2301

              AMERICAN PROTECTION
              PO BOX 747
              Meridian, MS 39302

              AT&T
              PO BOX 5014
              Carol Stream, IL 60197

              BTH QUITMAN HICKORY LLC
              252 HICKORY STREET
              Quitman, MS 39355-2114

              BUTLER SNOW
              ATTN: JET HOLLINGSWORTH
              1020 HIGHLAND COLONY PARKWAY
              Ridgeland, MS 39157

              CATERPILLAR FINANCIAL SERVICES
              2120 WEST END AVENUE
              Nashville, TN 37203-0986

              CATERPILLAR FINANCIAL SERVICES CORPORATI
              C/O SNELL & WILMER L.L.P.
              ATTN: ROBERT KINAS, ESQ.
              3883 HOWARD HUGHES PKWY #1100
              Las Vegas, NV 89169-0965

              CHICKASAWAY NATURAL GAS
              306 S. ARCHUSA AVENUE
              Quitman, MS 39355

              CINTAS
              PO BOX 630910
              Cincinnati, OH 45263-0910

              CITY OF QUITMAN
              PO BOX 16
              Quitman, MS 39355-0016

              CLARKE COUNTY TAX COLLECTOR
              PO BOX 69
              Quitman, MS 39355

              CLARKE COUNTY, MISSISSIPPI
              c/o Kevin Rogers
              Wells Marble and Hurst
              300 Concourse Blvd., Suite 200
              Ridgeland, MS 39157-2053
Case 18-51222-btb   Doc 1   Entered 10/26/18 14:07:09   Page 28 of 35



              CONSTRUCTION SERVICES INC
              PO BOX 5737
              Meridian, MS 39302

              CONTOL UNION (USA), INC.
              ATTN: KELLI SENIOR
              115 JAMES DRIVE WEST, SUITE 150
              Saint Rose, LA 70087

              CRANE EMPLOYMENT
              3307 8TH STREET
              Meridian, MS 39301

              CUI SECURITY
              PO BOX 878291
              Kansas City, MO 64187-8291

              ECD NEW MARKETS
              C/O TIMOTHY A LUKAS/HOLLAND & HART LLP
              5441 KIETZKE LN, 2ND FLR
              Reno, NV 89511-3026

              ECD NEW MARKETS 4, LLC
              fbo Hope Enterprise Corporation
              4 Old River Place, Suite A
              Jackson, MS 39202

              ECD NEW MARKETS 4, LLC
              fbo NBE Finance Corporation
              12824 N. Colony Dr.
              Mequon, WI 53097

              ECD NEW MARKETS 4, LLC
              fbo Quitman II Investment Fund, LLC
              c/o U.S. Bancorp Community Development
              1307 Washinton Avenue, Suite 300
              Saint Louis, MO 63103

              ENHANCED CAPITAL NEW MARKET
              DEVELOPMENT FUND VII, LLC
              fbo Enhanced Community Development, LLC
              201 St. Charles Ave., Suite 3700
              New Orleans, LA 70170

              ENHANCED CAPITAL NEW MARKET
              DEVELOPMENT FUND VII, LLC
              fbo NBE Finance Corporation
              12824 N. Colony Dr.
              Mequon, WI 53097

              ENHANCED CAPITAL NEW MARKET DEVELOPMENT
              C/O TIMOTHY A LUKAS/HOLLAND & HART LLP
              5441 KIETZKE LN, 2ND FLR
              Reno, NV 89511-3026
Case 18-51222-btb   Doc 1   Entered 10/26/18 14:07:09   Page 29 of 35



              ENHANCED CAPITAL NEW MRKT. DEV. FUND VI
              fbo Quitman III Investment Fund, LLC
              c/o U.S. Bancorp Community Development
               1307 Washinton Avenue, Suite 300
              Saint Louis, MO 63103

              ENHANCED CAPITAL PARTNERS
              C/O TIMOTHY A LUKAS/HOLLAND & HART LLP
              5441 KIETZKE LN, 2ND FLR
              Reno, NV 89511-3026

              FIRST INSURANCE FUNDING
              C/O KEITH D. PETERSON
              708 MILAN STREET, SUITE 300
              Shreveport, LA 71101

              FLORIDA COMMUNITY NEW MARKES FUND VI
              fbo Quitman II Investment Fund, LLC
              c/o U.S. Bancorp Community Development
              1307 Washinton Avenue, Suite 300
              Saint Louis, MO 63103

              FLORIDA COMMUNITY NEW MARKETS FUND VI
              fbo Florida Community Loan Fund, Inc.
              501 N. MAGNOLIA AVENUE, SUITE 100
              Orlando, FL 32801

              FLORIDA COMMUNITY NEW MARKETS FUND VI, L
              fbo NBE Finance Corporation
              12824 N. Colony Dr.
              Mequon, WI 53097

              FLORIDA COMMUNITY NEW MARKETS FUND VI, L
              C/O TIMOTHY A LUKAS/HOLLAND & HART LLP
              5441 KIETZKE LN, 2ND FLR
              Reno, NV 89511-3026

              GLOVER YOUNG
              ATTN: WILL SIMMONS
              1724 23RD AVENUE, SUITE A
              Meridian, MS 39301

              GRANTHAM POOLE, CPA'S
              ATTN: BRAD HATCHETT
              1062 HIGHLAND COLONY PKWY #201
              Ridgeland, MS 39157

              HEARTLAND RENAISSANCE FUND SUB XI, LLC
              200 RIVER MARKET AVENUE, SUITE 400
              Little Rock, AR 72201-1766

              HEARTLAND RENAISSANCE FUND SUB XI, LLC
              C/O TIMOTHY A LUKAS/HOLLAND & HART LLP
              5441 KIETZKE LN, 2ND FLR
              Reno, NV 89511-3026
Case 18-51222-btb   Doc 1   Entered 10/26/18 14:07:09   Page 30 of 35



              HEETWAY LLC
              755 LAKEFIELD ROAD, SUITE G
              Westlake Village, CA 91361

              HEETWAY LLC
              C/O NEAL SMALER
              20138 SANTA RITA STREET
              Woodland Hills, CA 91364-3544

              HICKORY LEASING LLC
              252 HICKORY AVENUE
              Quitman, MS 39355

              HIGHLAND LLC
              ATTN: HOLLY E. ESTES, ESQ.
              ESTES LAW, P.C.
              605 FOREST ST
              RENO, NV 89059

              HOLLYWOOD TOW SERVICE INC.
              DEFINED BENEFIT PENSION PLAN
              2644 CLARAY DRIVE
              Los Angeles, CA 90077

              HOPE ENTERPRISE CORPORATION
              C/O TIMOTHY A LUKAS/HOLLAND & HART LLP
              5441 KIETZKE LN, 2ND FLR
              Reno, NV 89511-3026

              INTERNAL REVENUE SERVICE
              PO BOX 21126
              DPN 781
              Philadelphia, PA 19114

              INTERNAL REVENUE SERVICE
              P.O. Box 7346
              Philadelphia, PA 19101-7346

              JAMES L. BARKSDALE
              800 WOODLANDS PKWY, SUITE 118
              Ridgeland, MS 39157

              LAUREL RUBBER AND GASKET
              PO BOX 2643
              Laurel, MS 39442

              MIDSOUTH WELDING
              505 51ST AVENUE
              Meridian, MS 39301

              MISSISSIPPI POWER COMPANY
              3045 ARCHUSA AVENUE
              Quitman, MS 39355
Case 18-51222-btb   Doc 1   Entered 10/26/18 14:07:09   Page 31 of 35



              MOBILE FOREST PRODUCTS & BIOMASS
              PO BOX 2788
              Mobile, AL 36652

              MOHEGAN RENEWABLE ENERGY
              c/o Fennemore Craig, P.C.
              Attn: Anthony W. Austin
              2394 E. Camelback Rd., Ste. 600
              Phoenix, AZ 85016-9077

              MORRIS 1985 SURVIVORS TRUST
              1379 MONUMENT STREET
              Pacific Palisades, CA 90272

              MORRIS 1985 SURVIVORS TRUST
              1379 MONUMENT ST
              Pacific Palisades, CA 90272

              MUNISTRATEGIES SUB-CDE #3
              C/O TIMOTHY A LUKAS/HOLLAND & HART LLP
              5441 KIETZKE LN, 2ND FLR
              Reno, NV 89511-3026

              MUNISTRATEGIES SUB-CDE #3, LLC
              fbo NBE Finance Corporation
              12824 N. Colony Dr.
              Mequon, WI 53097

              MUNISTRATEGIES SUB-CDE #3, LLC
              fbo MuniStrategies, LLC
              2819 North State Street
              Jackson, MS 39206

              MUNISTRATEGIES SUB-CDE #3, LLC
              fbo Quitman III Investment Fund, LLC
              c/o U.S. Bancorp Community Development
              1307 Washinton Avenue, Suite 300
              Saint Louis, MO 63103

              MuniStrategies Sub-CDE#3, LLC
              2819 N. State Street
              Jackson, MS 39216

              MUNISTRATEGIES, LLC
              C/O TIMOTHY A LUKAS/HOLLAND & HART LLP
              5441 KIETZKE LN, 2ND FL
              Reno, NV 89511-3026

              NARDIELLO LAW FIRM
              1880 CENTURY PARK EAST
              SUITE 716
              Los Angeles, CA 90067
Case 18-51222-btb   Doc 1   Entered 10/26/18 14:07:09   Page 32 of 35



              NEW BIOMASS HOLDING LLC
              4320 greens place
              5530 CORBIN AVENUE, SUITE 362
              Wilson, WY 83014

              NEW BIOMASS HOLDING LLC
              5530 CORBIN AVENUE, SUITE 362
              Wilson, WY 83014

              NEW BIOMASS HOLDING LLC
              5530 CORBIN AVENUE, SUITE 362
              Tarzana, CA 91356

              Northland Group
              PO Box 390846
              Minneapolis, MN 55439

              PUCKETT RENTAL
              PO BOX 321033
              Flowood, MS 39232

              PURVIS BUSINESS MACHINES INC.
              4505 HWY 39 NORTH
              Meridian, MS 39301

              REGIONS BANK
              c/o Lance R. Miller
              Mitchell Williams Selig Gates & Woodyard
              425 W. Capitol, Suite 1800
              Little Rock, AR 72201

              REGIONS BANK
              Corporate Trust Operations
              01 Milan Pakrway, 2nd Floor
              Birmingham, AL 35211-6946

              REGIONS BANK CORPORATE TRUST OPERATIONS
              201 Milan Parkway
              Second Floor
              Birmingham, AL 35211

              ROBINSON LIVING TRUST
              3695 LAKE CREEK DRIVE
              Wilson, WY 83014

              ROXANNE T. RANKIN, TRUSTEE
              ROXANNE T. RANKIN REVOCABLE TRUST
              18120 WAKECREST DRIVE
              Malibu, CA 90265

              SELWYN AND SANDRA GINSBURG FAMILY TRUST
              16060 VENTURA BLVD, STE 110
              Encino, CA 91436
Case 18-51222-btb   Doc 1   Entered 10/26/18 14:07:09   Page 33 of 35



              SELWYN AND SANDRA GINSBURG FAMILY TRUST
              16060 VENTURA BLVD., SUITE 110
              Encino, CA 91436

              SHUQUALAK LUMBER CO
              PO BOX 68
              Shuqualak, MS 39361

              SOUTHLAND TRANSPORT SERVICES OF
              STUTTGAR
              1035 HWY 165 N
              STUTTGART, AR 72169

              STATE OF MISSISSIPPI
              DEPARTMENT OF REVENUE
              PO BOX 23338
              Jackson, MS 39225-3338

              STEVEN RHEUBAN
              15910 VENTURA BLVD.
              Encino, CA 91436

              SUSAN ROSMAN
              2025 S. BEVERLY GLEN
              Los Angeles, CA 90025

              SUSTAINABLE MODULAR MANAGEMENT
              7500 DALLAS PARKWAY, SUITE 175
              Plano, TX 75024

              TCF INVESTMENTS LLC
              68 WILLOW TREE ROAD
              Monsey, NY 10952

              THE BRIARGATE TRUST
              5952 VISTA DE LA LUZ
              Woodland Hills, CA 91367

              THE CITY OF QUITMAN
              POB 16
              101 E. CHURCH ST
              Quitman, MS 39355

              THE WESTON FAMILY TRUST
              4318 PARK ARROYO
              Calabasas, CA 91302

              UTICA LEASCO, LLC
              905 SOUTH BOULEVARD EAST
              Rochester, MI 48307
Case 18-51222-btb   Doc 1   Entered 10/26/18 14:07:09   Page 34 of 35



              UTICA LEASCO, LLC
              c/o Richard F. Holley
              Holley Driggs Walch Fine Wray Puzey
              400 S. 4th Street, Third Floor
              Las Vegas, NV 89101-6201

              UTICA LEASECO, LLC
              905 SOUTH BOULEVARD EAST
              Rochester, MI 48307

              WASTE PRO OF MERIDIAN
              200 BRAXTON AVENUE
              Meridian, MS 39301

              WAVELAND SUB CDE XVIII, LLC
              825 North Jefferson Street, Suite 300
              Milwaukee, WI 53202-3737

              WAVELAND SUB CDE XVIII, LLC
              C/O TIMOTHY A LUKAS/HOLLAND & HART LLP
              5441 KIETZKE LN, 2ND FLR
              Reno, NV 89511-3026
                         Case 18-51222-btb                           Doc 1    Entered 10/26/18 14:07:09     Page 35 of 35




                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      HICKORY LEASING LLC                                                                         Case No.
                                                                                    Debtor(s)           Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for HICKORY LEASING LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 26, 2018                                                       /s/ KEVIN DARBY
 Date                                                                   KEVIN DARBY
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for HICKORY LEASING LLC
                                                                        DARBY LAW PRACTICE
                                                                        4777 CAUGHLIN PARKWAY
                                                                        Reno, NV 89519
                                                                        7753221237 Fax:7759967290
                                                                        kevin@darbylawpractice.com




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
